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Approved: ___________________________________
          SAMUEL P. ROTHSCHILD/ANDREW THOMAS
          Assistant United States Attorneys

Before:   THE HONORABLE JAMES L. COTT
          United States Magistrate Judge

                                               22 MAG 3884
          Southern District of New York

- - - - - - - - - - - - - - -        x
                                     :   SEALED COMPLAINT
UNITED STATES OF AMERICA             :
                                     :   Violations of
     v.                              :   18 U.S.C. §§ 1348 & 2
                                     :
DAVID STONE,                         :   COUNTY OF OFFENSE:
                                     :   NEW YORK
           Defendant.                :
                                     :
- - - - - - - - - - - - - - -        x

SOUTHERN DISTRICT OF NEW YORK, ss.:

     FLYNN McFADDEN, being duly sworn, deposes and says that he
is a Special Agent with the Federal Bureau of Investigation (the
“FBI”) and charges as follows:

                              COUNT ONE
                         (Securities Fraud)

      1.   From in or about 2020 up to and including in or about
2022, in the Southern District of New York and elsewhere, DAVID
STONE, the defendant, knowingly and intentionally executed, and
attempted to execute, a scheme and artifice to (a) defraud persons
in connection with securities of an issuer with a class of
securities registered under Section 12 of the Securities Exchange
Act of 1934 and that was required to file reports under Section
15(d) of the Securities Exchange Act of 1934, and (b) obtain, by
means of false and fraudulent pretenses, representations, and
promises, money and property in connection with the purchase and
sale of securities of an issuer with a class of securities
registered under Section 12 of the Securities Exchange Act of 1934
and that was required to file reports under Section 15(d) of the
Securities Exchange Act of 1934, to wit, STONE, without authority,
accessed and misappropriated pre-publication stock recommendations
of   investment   recommendation  services   and  converted   that
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information to his own use by trading on it and by distributing it
to others for their trading.

      (Title 18, United States Code, Sections 1348 and 2.)

     The bases for my knowledge and for the foregoing charge are,
in part, as follows:

     2.   I am a Special Agent with the FBI and have been since
approximately 2020. I am currently assigned to a squad in the FBI’s
New York Field Office that investigates complex financial crimes,
including crimes involving securities fraud through insider
trading and wire fraud. During my tenure with the FBI, I have
participated in the investigations of numerous frauds and have
conducted physical and electronic surveillance, the execution of
search warrants (including warrants to search electronic accounts,
such as email accounts, and electronic devices such as cellphones
and computers), debriefings of informants, reviews of taped
conversations and electronic communications such as emails and
text messages, and arrests. Through my training, education, and
experience, I have become familiar with the manner in which
securities frauds, such as insider trading, and wire frauds are
perpetrated.

     3.    The information contained in this Complaint is based
upon my personal knowledge, as well as information obtained during
this investigation, directly or indirectly, from other sources,
including,    but  not   limited   to:   (a)   business   records;
(b) correspondence and electronic communications, including emails
obtained from search warrants; (c) Internet Protocol logs;(d) bank
and brokerage records; (e) conversations with other federal law
enforcement officers; and (f) information supplied by the U.S.
Securities and Exchange Commission (the “SEC”). Because this
Complaint is being submitted for the limited purpose of
establishing probable cause, it does not include all the facts
that I have learned during the course of my investigation. Where
the contents of documents and the actions and statements of and
conversations with others are reported herein, they are reported
in substance and in part. Where figures, calculations, and dates
are set forth herein, they are approximate, unless stated
otherwise.

                              Background

     4.   The United States Attorney’s Office for the Southern
District of New York and the FBI have been investigating an insider
trading ring (the “Insider Trading Ring”) that appears to exploit

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market-moving   stock   recommendations    made   by   investment
recommendation services offered by a company (“Advisor-1”) before
those recommendations are released to subscribers of those
services. In particular, and as described below, DAVID STONE, the
defendant, appears to be extracting confidential information from
Advisor-1 through unauthorized access to Advisor-1’s computing
system, using that information to trade, and distributing that
information to others for their trading.

     5.   Based on my review of Advisor-1’s website, I have learned
that Advisor-1 is an investing advice company that provides
investment guidance to investors. Advisor-1 offers membership
services, which members must pay to use, including two particular
services (“Service-1” and “Service-2”), which purport to provide
market-beating stock recommendations.

     6.   Based on my review of emails sent from Advisor-1 to
subscribers of Service-1 and Service-2, as well as conversations
with a representative of Advisor-1, I have learned, in part, the
following:

          a.   Through its premium services, such as Service-1 and
Service-2, Advisor-1 makes stock recommendations that are
available only to subscribers of those services.

          b.   For Service-1, for example, employees of Advisor-1
typically announce those stock recommendations by newsletter or
during online livestream events on particular Thursdays at
approximately 1pm Eastern time. Approximately one hour before a
live stream event, Advisor-1 emails Service-1 members a link to
join the broadcast. Additionally, shortly after the livestream,
Advisor-1 both sends Service-1 members an email setting forth the
stock recommendations and posts the stock recommendations on part
of Advisor-1’s website that only members can access.

          c.   Prior to the dissemination of Advisor-1’s stock
recommendations to its subscribers, Advisor-1 considers those
recommendations to be confidential and takes steps to keep those
forthcoming recommendations confidential. Relatedly, Advisor-1
takes steps to prohibit employees of Advisor-1 from trading in
securities underlying forthcoming recommendations.

     7.   Based on an analysis of stock-price movements between on
or about November 12, 2020 and April 21, 2022 conducted by the
SEC, I have learned that Advisor-1’s stock recommendations
typically, but not always, lead to higher closing prices for the
recommended stock as compared to the prior day’s closing price.
For example, on or about August 26, 2021, Advisor-1 recommended

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CrowdStrike Holdings, Inc., which trades on NASDAQ under the “CRWD”
ticker symbol. On the day prior to the announcement, CRWD closed
at $270.00; on the day of the announcement, CRWD closed at $278.77
— a 3.25% increase. On occasion, recommended stocks have
experienced price increases of more than 7% or 8% as compared to
the prior day’s closing price.

        DAVID STONE has Unauthorized Access to Advisor-1

     8.   Based on a review of email correspondence to and from an
email account (the “STONE Email Account”), subscribed to in the
name “David Stone” and associated with a particular phone number
(the “STONE Phone Number”), as well as a review of bank records
and bank account opening documents, it appears that STONE is an
information technology (“IT”) professional who, among other
things, provides IT support for small businesses via remote access
to their computing systems.

     9.   Based on my review of brokerage records, I have learned
that on or about November 23, 2020, a brokerage account registered
in STONE’s name and associated with the STONE Email Account and
the STONE Phone Number (“STONE Brokerage Account-1”) was accessed
via a particular Internet Protocol address (“IP Address-1”).1

     10. Based on information from Advisor-1, I have learned, in
part, the following:

          a.   IP Address-1 belongs to Advisor-1.

          b.   Advisor-1 does not have a record of having granted
DAVID STONE, the defendant, access to its computing system.

     11. Based on my review of a record from the STONE Email
Account’s service provider (the “Record”), I have learned that the
STONE Email Account has been accessed via various Internet Protocol
addresses. Some of the Record’s entries list not only an “IP
Address,” but also a “Proxiedhost IP Address.”2 All such entries
are from on or about March 9, 2022 up to and including on or about
March 30, 2022. In any instance where a “Proxiedhost IP Address”

1 Based on my training and experience, I know that an Internet
Protocol address (or “IP Address”) is a numerical label assigned
to each device participating in a computer network that uses the
Internet Protocol for communication.
2 Based on my training and experience, I know that a “proxy IP
address” can refer to an IP address that effectively shields a
user’s true IP address.
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is listed, it is always the same IP Address—namely, IP Address-1.

     12. Based on those IP address logs, my training and
experience, and my conversations with other law enforcement
officers specializing in cyber intrusions, I believe that the IP
address information described above reflects that DAVID STONE, the
defendant, obtained access to the Advisor-1’s computing system
assigned IP Address-1 and, at certain times, while accessing
Advisor-1’s computing system, logged into his own brokerage and
email accounts.

     13. Further, based on a review of emails sent by DAVID STONE,
the defendant, to a particular individual (“Tipee-1”) at an email
account (the “Tipee-1 Email Account”) subscribed to in the name of
Tipee-1 and associated with a particular phone number (the “Tipee-
1 Phone Number”), I know that STONE has remarked upon limitations
on his ability to access information from Advisor-1 before its
publication. For example:

          a.   On or about February     3, 2021, STONE sent Tipee-1 an
email that stated, in part: “Looks       like tomorrow’s update is in
video form which means I can't see      what is in ahead of time. Not
sure how often they will do it but      so far 1//4 updates this year
have been this way.”

          b.   On or about April 14, 2021, STONE sent Tipee-1 an
email that stated, in part: “Buy The Toro Company TTC. It'll be
another video announcement but I can still see it should be for
TTC. Sometimes I can't tell but this time I can.”

          c.   On or about May 19, 2021, STONE sent Tipee-1 an
email that stated, in part, “Tomorrow the [Service-1] rec is Amazon
(AMZN). It seems I can reliably see the third thursday recs the
rest are hit and miss.”

     14. Based on the foregoing, I believe that DAVID STONE, the
defendant, has accessed Advisor-1’s computing system, has done so
without lawful authority, and his references to being able to “see”
certain information, and not being able to “see” other information
(in particular, information in “video form”) refer to the fact
that STONE’s method of access has enabled him to view certain pre-
publication information but not all of Advisor-1’s information.

    DAVID STONE Alerts Tipee-1 to Pre-Publication Information

     15. Based on a review of emails obtained pursuant to a search
warrant, I have learned the following:


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          a.   On or about January 16, 2021, DAVID STONE, the
defendant, using the STONE Email Account, sent an email to Tipee-
1 that included the following:

          I'm ok with sharing the weekly trades with
          you. I have used it so far to generate a
          significant amount of money and I'm sure you
          will be able to as well. There is a small
          possibility that what we are doing could be
          considered insider trading. [Advisor-1] uses
          only public information about to make its
          recommendations and even the recommendations
          are behind a paywall so it is a stretch to
          call it insider trading but it certainly
          behaves like it because it almost guarantees
          favorable price moves at a certain time.

          So with that in mind these are the guidelines
          I am following:

          . . . .

          * Purchase a [Service-1] subscription from
          [Advisor-1] . . . and open some long term
          position of some of the recommendation that
          appeal to you

          * Do other trades besides just what I tell
          you. If all your trades are up 5x and you never
          make a loosing trade it may call attention of
          regulators. . . .

          * Pay your taxes. These trades are short term
          capital gains and are taxed at your regular
          income tax rate. You may get a significant tax
          bill come April 15 2022.

          * Pay your tithe. This extra income has been
          a subject of regular prayer for me. I
          anticipate I will not need to keep my regular
          job for long when we are on the mission field.
          I have opened a donor advised fund which make
          it easy to contribute large sums of money or
          stocks directly and then schedule donations to
          be made to my church and any other charity I
          choose. It makes it easier to make anonymous
          donations as well which I feel is important.


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          . . . .

          With these guidelines in place I can email the
          recommendations as soon as I know. I feel [a
          particular email provider] will be a more
          secure form of communication if it works for
          you.

          b.    Between on or about January 20, 2021 up to and
including on or about March 17, 2022, on approximately 45 different
days, STONE sent emails to Tipee-1 providing stock names and/or
ticker symbols ahead of Advisor-1 announcements of stock
recommendations to its paying subscribers.

 DAVID STONE Uses Pre-Publication Information to Trade and Cause
                         Others to Trade

     16. By comparing trading records to Advisor-1 stock
recommendations, I have learned that DAVID STONE, the defendant,
Tipee-1, and others have repeatedly engaged in trading activity
relating to Advisor-1 stock recommendations shortly before
Advisor-1 announced those recommendations to its paying members.

     17. Based on my review of brokerage records, I have learned
that DAVID STONE, the defendant, and the Insider Trading Ring often
use financial instruments known as “call options” or “calls.” From
my experience, I have learned that call options are financial
contracts that give the option holder the right but not the
obligation to buy a stock, bond, commodity, or other asset or
instrument at a specified price within a specified time period.
The stock, bond, or commodity is known as the “underlying asset.”
The specified price is known as the “strike price.” For call
options, the strike price is where the underlying asset can be
bought by the option holder. The end of the specified time period
is known as the “expiration date,” which is the last day that the
option contract is valid. A call holder may profit when the
underlying asset increases in price before the end of the
expiration date.

     18. For example, based on my review of emails sent from
Advisor-1 to Service-1 members, I have learned that, on or about
Thursday, September 16, 2021, Advisor-1 recommended that Service-
1 members buy stock issued by Asana, Inc., which trades on the New
York Stock Exchange under ticker symbol “ASAN.” Based on the
process described above, I believe that during a livestream that
began at approximately 1:00 p.m. Eastern time on or about September
16,   2021,   employees    of   Advisor-1   announced    the   ASAN
recommendation, and, at approximately 1:22 p.m. Eastern time that

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day, Advisor-1 sent Service-1 members an email recommending that
Service-1 members “Buy Asana.” Based on my review of publicly
available information online, I have learned that the opening price
of Asana stock on September 16, 2021 was $109, and the closing
price was $117.86. The increase in price may be attributable in
part to the announcement of Advisor-1’s recommendation.

     19. Based on a review of email correspondence, brokerage
records, and public stock-price information, I have learned that
DAVID STONE, the defendant, learned of the ASAN recommendation in
advance of its publication, profitably traded in ASAN, and provided
the pre-publication information to Tipee-1, who also profitably
traded. For example:

          a.   On or about September 15, 2021, the day before
Advisor-1 announced the ASAN recommendation, DAVID STONE, the
defendant, sent an email to Tipee-1 that said, among other things,
“Buy Asana.”

          b.   On or about September 16, 2021, in the hours leading
up to Advisor-1’s announcement of the ASAN recommendation, a
brokerage account registered in Tipee-1’s name and associated with
the Tipee-1 Email Account and the Tipee-1 Phone Number (the “Tipee-
1 Brokerage Account”), conducted multiple purchases of securities
related to Asana stock, including for over approximately one
thousand September 17, 2021 call options for Asana stock with
strike prices ranging from approximately $115 to $125, as well as
approximately one hundred shares of Asana stock. Additionally, on
or about September 16, 2021 from approximately 12:09pm to
approximately 12:11pm Central time, that is, from approximately
1:09pm to approximately 1:11pm Eastern time (that is, after
Advisor-1 would have begun the livestream during which it would
have announced its ASAN recommendation), the Tipee-1 Brokerage
Account sold over approximately one thousand September 17, 2021
call options for Asana stock with strike prices ranging from
approximately $115 to $125. On or about September 21, 2021, the
Tipee-1 Brokerage Account sold approximately fifty shares of Asana
stock.

          c.   Similarly, on or about September 16, 2021,
beginning approximately three-and-a-half hours before Advisor-1
announced its ASAN recommendation, a brokerage account registered
in STONE’s name and associated with the STONE Email Account and
the STONE Phone Number (“STONE Brokerage Account-2”), bought for
approximately $7,568.22 approximately one hundred September 17,
2021 call options for Asana stock with an approximately $115 strike
price (that is, approximately $6 above the opening price). Then,
beginning at approximately 1:19pm Eastern time, after the start of

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the   livestream   in   which   Advisor-1   announced   the   ASAN
recommendation and around the time that Advisor-1 sent Service-1
members an email setting forth the ASAN recommendation, STONE
Brokerage    Account-2   sold    for   approximately    $27,001.86
approximately one hundred twenty-nine September 17, 2021 call
options for Asana stock with an approximately $115 strike price.
(On or about September 16, 2021 at approximately 5:01pm Eastern
time, STONE Brokerage Account-2 bought for approximately $2,339.78
approximately twenty-nine September 17, 2021 call options for
Asana stock with an approximately $115 strike price.)

          d.   Also on or about September 16, 2021, beginning
approximately two-and-a-half hours before Advisor-1 announced its
ASAN recommendation, a different brokerage account registered in
STONE’s name and associated with the STONE Email Account and the
STONE Phone Number (“STONE Brokerage Account-3”), bought several
September 17, 2021 call options for Asana stock with an
approximately $115 strike price.

     20. Based on publicly available stock-price information, I
know that following Advisor-1’s recommendation, ASAN closed
approximately 7.81% higher than it had the day before. STONE’s and
Tipee-1’s pre-recommendation trading enabled them to each make
hundreds of thousands of dollars in profits. Specifically, based
on a review of brokerage records for the Tipee-1 Brokerage Account,
STONE Brokerage Account-2, and STONE Brokerage Account-3, as well
as a review of preliminary trading analysis conducted by the SEC,
I have learned that Tipee-1’s and STONE’s transactions before and
after the ASAN recommendation generated approximately $126,495 and
$104,272, respectively, in gross trading gains as represented by
the sum of the value of Tipee-1’s and STONE’s trading positions as
of the closing price on the day the recommendation became public.

     21. The ASAN trading pattern is just one of multiple examples
of DAVID STONE, the defendant, Tipee-1, and others connected to
them trading in securities related to stocks recommended by
Advisor-1 shortly before Advisor-1 recommendations were announced
to Advisor-1’s paying members. Based on my review of brokerage
records, information that Advisor-1 made available to members of
Service-1, a review of a preliminary trade analysis prepared by
the SEC, as well as my conversations with other law enforcement
personnel, I have learned the following, in substance and in part:

          a.   Since in or about November 2020, brokerage accounts
associated with STONE, including STONE Brokerage Account-2 and
STONE Brokerage Account-3, have traded ahead of Advisor-1
recommendations on more than a dozen occasions. As a result of
that trading, STONE has profited over approximately $3 million.

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          b.   Since in or about January 2021, the Tipee-1
Brokerage Account has traded ahead of Advisor-1 recommendations on
more than a dozen occasions. As a result of that trading, Tipee-1
has profited more than approximately $2.7 million.

          c.   On multiple occasions, STONE and Tipee-1 have
traded in stocks listed on national securities exchanges located
in Manhattan, New York, such as the New York Stock Exchange and
NASDAQ.

     WHEREFORE, I respectfully request that an arrest warrant be
issued for DAVID STONE, the defendant, and that he be arrested and
imprisoned or bailed, as the case may be.

                                  /s/ Flynn McFadden, by the Court, with permission
                                  ________________________________
                                  Special Agent Flynn McFadden
                                  Federal Bureau of Investigation


Sworn to me through the transmission
of this Complaint by reliable electronic
means, pursuant to Fed. R. Crim. P. 41(d)(3), this
29th day of April, 2022


_______________________________
HONORABLE JAMES L. COTT
UNITED STATES MAGISTRATE JUDGE
SOUTHERN DISTRICT OF NEW YORK




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